                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                 SOUTHERN DIVISION

PHILLIP J. SINGER, Individually and on )
Behalf of All Other Persons Similarly Situated,
                                       )
                                       )
                      Plaintiffs,      )
                                       )                     JUDGMENT IN A CIVIL CASE
v.                                     )                     CASE NO. 7:12-cv-23-D
                                       )
TRANS1, INC., KENNETH REALI, JOSEPH P. )
SLATTERY, RICHARD RANDALL, MICHAEL )
LUETKEMEYER,                           )
                                       )
                      Defendants.      )

Decision by Court.
IT IS ORDERED, ADJUDGED, AND DECREED that the court GRANTS the plaintiffs'
motions for final approval of the class action settlement [D.E. 121] and for an award of attorneys'
fees, reimbursement of expenses, and a compensatory award to lead plaintiff [D.E. 123].
IT IS FURTHER ORDERED that the plaintiffs claims against the individual defendants were
DISMISSED WITH PREJUDICE by order dated 5/14/2015 [D.E. 72].


This Judgment Filed and Entered on November 19, 2018, and Copies To:
Jeremy A. Lieberman                                          (via CM/ECF electronic notification)
Tamar A. Weinrib                                             (via CM/ECF electronic notification)
Gary W. Jackson                                              (via CM/ECF electronic notification)
Marcus Samuel McGee                                          (via CM/ECF electronic notification)
John F. Cannon                                               (via CM/ECF electronic notification)
Jonathan D. Sasser                                           (via CM/ECF electronic notification)
Stephen L. Ram                                               (via CM/ECF electronic notification)
Aaron C. Humes                                               (via CM/ECF electronic notification)
Thomas Hamilton Segars                                       (via CM/ECF electronic notification)


DATE:                                                PETER A. MOORE, JR., CLERK
November 19, 2018                                            (By) /s/ Nicole Sellers
                                                      Deputy Clerk




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